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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                     :
CITY OF PHILADELPHIA,                                :
                                                     :
                      Plaintiff,                     :
                                                     :
               v.                                    : CIVIL ACTION NO.
                                                     : 2:17-cv-02203-AB
WELLS FARGO & CO, and WELLS FARGO                    :
BANK, N.A.,                                          :
                                                     :
                      Defendants.                    :
                                                     :

      [PROPOSED] STIPULATED ORDER REGARDING THE PRODUCTION OF
         DOCUMENTS AND ELECTRONICALLY STORED INFORMATION

       This Stipulated Order Regarding the Production of Documents and Electronically Stored

Information shall govern the parties’ document productions in the above-captioned case. To the

extent any party identifies issues that it contends make compliance with any of the provisions of

this Order impossible or overly burdensome, the parties shall meet and confer regarding an

appropriate and reasonable alternative.

I.     PURPOSE

       This Order will govern discovery of electronically stored information (“ESI”) in the

above-captioned case as a supplement to the Federal Rules of Civil Procedure and any other

applicable orders and rules.

II.    COOPERATION

       The parties are aware of the importance and the Court places on cooperation and commit

to cooperate in good faith throughout the matter.




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III.   DEFINITIONS

       A.       “De-NIST” means to use the National Software Reference Library’s list of

known, traceable computer applications to identify computer files known to be unimportant

system files and remove them from the document collection. Examples of such files include,

without limitation, .exe and .dll files found on a PC

       B.       “Documents” includes writings, drawings, graphs, charts, photographs, sound

recordings, images, and other data, data records or data compilations as those terms are used in

Fed. R. Civ. P. 34 — stored in any medium from which information can be obtained.

       C.       “Electronically stored information” or “ESI,” as used herein, means and refers

to computer generated information or data of any kind and has the same meaning and scope as it

has in the Federal Rules of Civil Procedure.

       D.       “Email Thread Suppression” means to identify the last, most-inclusive email in

a chain of emails for review without reviewing earlier emails in the same chain. For clarity, side

conversations from an email chain (i.e., emails that do not include all senders and recipients in

the chain), may not be removed from review or production as part of any Email Thread

Suppression effort without meeting and conferring with the opposing party.

       E.       “Native data format” means the file in its original creating application, i.e.,

including the format in which the producing party has maintained ESI in the ordinary course of

business.

       F.       “Metadata” means and refers to information or data about data, and includes

without limitation (i) information embedded in or associated with a native file that is not

ordinarily viewable or printable from the application that generated, edited, or modified such

native file which describes the characteristics, origins, and/or usage of the electronic file and/or

(ii) information generated automatically by the operation of a computer or other information

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technology system when a native file is created, modified, transmitted, deleted or otherwise

manipulated by a user of such system. The specific Metadata fields are set forth in section IV.M.

       G.       “Static Image” means or refers to a representation of ESI produced by converting

a native file into a standard image format capable of being viewed and printed on standard

computer systems.

       H.       “Media” means an object or device, real or virtualized, including but not limited

to a disc, tape, computer or other device, on which data is or was stored.

IV.    FORMAT OF PRODUCTION

       A.       TIFF Image Files. The Parties agree that all ESI will be produced as single-page,

black-and-white Group IV TIFF image files of at least 300 dpi resolution with 1 bit depth, except

as provided in section II.H. Each image file shall be of the form: <Bates num>.tif where <Bates

num> is the BATES number of the page. Original document orientation as displayed in the

native file should be maintained in the TIFF image (e.g., portrait to portrait and landscape to

landscape).

       B.       Text Files. Accompanying these TIFF files shall be single page text (.TXT) files

(i.e., one text file per TIFF image created as set forth in IV.A) containing searchable text from

the native file for nonredacted documents and OCR text for documents that have been redacted.

Each filename shall be of the form: <Bates num>.txt where <Bates num> is the BATES number

endorsed on the TIFF image to which the text file pertains. Text shall be encoded in UTF-8.

Load files of the static images should be created and produced together with their associated

static images to facilitate the use of the produced images by a document management or

litigation support database system. The parties shall meet and confer to the extent reasonably

necessary to facilitate the import and use of the produced materials with commercially available

document management or litigation support software.

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       C.         Production of Structured Data. All data collected from structured data sources

should be produced in a reasonably useable format. If a party believes it cannot produce the data

in a reasonably useable format, the parties will meet and confer regarding an appropriate format.

       D.         Production of Physical Documents. Documents or records that either were

originally generated as ESI but now only exist in physical hard-copy format, and documents or

records that were originally generated in hard-copy format, shall be converted to a single page

.TIFF file and produced following the same protocols set forth herein, except the metadata fields

provided will be only: Custodian; Beginning Bates, Ending Bates, BegAttach, EndAttach, and

FileName (where available). OCR will be provided for such documents. If, however, the

Disclosing Party identifies documents or records for which OCR would be overly burdensome,

the parties shall meet and confer regarding an appropriate and reasonable alternative.

       E.         Native Files. In accordance with section IV.A, the parties agree that Documents

shall be produced as TIFF images. The exception to this rule shall be presentation-application

files (e.g., MS PowerPoint), spreadsheet-application files (e.g., MS Excel), personal databases

(e.g., MS Access), photographs, Portable Document Format (PDF) files, and multimedia

audio/visual files such as voice and video recordings (e.g., .wav, .mpeg, and .avi files), for which

all ESI items shall be produced in native format. Each native file shall be of the form: <Bates

num>.ext where <Bates num> is the BATES number of the document and .ext is the original

native file extension. In the event a Document subject to this paragraph requires redaction, it

shall be produced in TIFF in accordance with paragraph IV.I below. If upon review the receiving

party believes the production of an above-listed document in TIFF is inadequate, it shall meet

and confer with the producing party regarding whether an alternate method of redaction would

be appropriate.



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       F.       Document Unitization. All productions will include data load files and image

load files. Each party will designate its preferred format for receiving production documents. The

image load file shall reference each TIFF file in the corresponding production, and the total

number of TIFF files referenced in the load file shall match the total number of image files in the

production. The total number of documents referenced in a production’s data load file should

match the total number of designated document breaks in the corresponding image load file for

that production.

       Format for both plaintiff and defendant productions:

       OCR and Extracted Text Files (.TXT Files):

                •      Single text file per document containing all the document’s pages

                •      Filenames should be of the form:

                       <Bates num>.txt

                       Where <Bates num> is the BATES number of the first page in the
                       document.

                •      Text must be encoded in UTF-8.

       Images Files:

                •      Single page per image

                •      Single image per file

                •      TIFF is default FORMAT unless the following formats are agreed to: jpeg,
                       jpeg2000, giff, png, single image tiff, and bmp

                •      Filenames should be of the form:

                       <Bates num>.<ext>

                       Where <Bates num> is the BATES number of the page, and <ext> is the

                       appropriate extension for the image format (.jpg, .tif, .png, etc)




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       Index Files:

              •       DAT files (separated by standard Concordance delimiters)

              •       First line must contain the column/field names (set forth in Section II.L
                      herein)

              •       Every row must have the same number of columns/fields (empty values
                      are acceptable)

              •       Text must be encoded in UTF-8

              •       Values must be enclosed by Concordance standard delimiters

       Native Index Files:

              •       DAT files

              •       All lines contain data – first row must NOT contain column headers.

              •       Every row must have 2 columns/fields (empty values are NOT acceptable)

              •       First column/field must contain the BATES number for the document

              •       Second column/field must contain the filename (NOT the full path) of the
                      native file. Filenames must be unique in the production – unless the
                      content is identical (for example, a native and an OCR text file may both
                      be named XYZ01234567.TXT if they are identical).

              •       Text must be encoded in UTF-8

              •       Values must be enclosed by double quotes (ascii character 34)

              •       Values must be separated by standard Concordance delimiters

       G.     Duplicates. Removal of duplicate documents shall be performed but shall only be

done on exact duplicate documents across custodians and centralized files (based on MD5 or

SHA-1 hash values at the document level). To the extent that the de-duplication functionality of

a party’s processing system fails to remove certain types of duplicates such as the sent and

received versions of the same email based on this provision (e.g., because the time stamp differs

by a second), the parties may meet and confer on a supplemental de-duplication process to

address such issues as they arise. In any event, duplicate documents will not be removed if they

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are attached to unique family members (e.g., where two different e-mails are attached to the

same document, the MD5 Hash duplicate attachment will not be removed, as it is attached to

different cover e-mails). The producing party shall provide a “AllCustodian” field for each

document produced and that field shall include every custodian who had that document in their

custodial files, but where the document was deduplicated during processing.

       H.       De-NISTing

       The parties may de-NIST collected ESI prior to review for production using the current

list of system files maintained by the National Software Reference Library.

       I.       Color. For files not produced in their native format, if an original document

contains color, the producing party may produce black and white image(s). At the request of the

receiving party, the parties shall meet and confer to discuss production of color image(s) for

specific documents.

       J.       Bates Numbering and Other Unique Identifiers. For files not produced in their

native format, each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) electronically “burned” onto the bottom right hand corner of the TIFF image

in such a manner that information from the source document is not obliterated, concealed, or

interfered with. There shall be no other legend or stamp placed on the document image unless a

document qualifies for confidential treatment pursuant to the terms of the Protective Order for

Confidential Information entered by this Court in this litigation, or has been redacted in

accordance with applicable law or Court order. In the case of confidential materials as defined in

a Protective Order, or materials redacted in accordance with applicable law or Court order, a

designation may be “burned” onto the document’s image at the bottom left hand corner of the

page or on top of the redacted text. Each party should use a different production prefix.



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       For any ESI produced in native data format, the producing party shall produce a single-

page TIFF slipsheet indicating that a native item was produced and reflecting the production

Bates number, any confidential designation and text stating “Document Produced in Native

Format.” The native file will be produced in searchable format, preferably in extracted text.

       In cases where documents to be provided in native format are to be redacted and cannot

be imaged in a readable manner (e.g., Excel spreadsheets), the producing party may redact the

information from the native version of the document (but keeping a pristine non-redacted image

intact and preserved) by replacing the redacted text in the appropriate columns, cells, or locations

with the words “Redacted-Privileged” or “Redacted-Confidential”, as appropriate. If a party

performs redactions on native copies of documents, it will notify the receiving party of the Bates

numbers of the documents redacted in this manner.

       K.       Production Media. The Parties shall produce all documents via either a secure

FTP site or encrypted physical media (e.g., hard drives, CDs, or DVDs) or other mutually

agreeable media (“Production Media”). Each item of Production Media shall include: (1) text

referencing that it was produced in this lawsuit (2) the production date, (3) the production

volume for the party; and (4) the Bates number range of the materials contained on such

Production Media item. To maximize the security of information in transit, any media on which

documents are produced may be encrypted by the producing Party. In such cases, the producing

Party shall transmit the encryption key or password to the requesting Party, under separate cover,

contemporaneously with sending the encrypted media.

       L.       Electronic Text Files. Text files for nonredacted produced documents shall be

produced reflecting the full text that has been electronically extracted from the original, native

electronic files (“Extracted Text”). The Extracted Text shall be provided in UTF-8 text format



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and shall be labeled and produced on Production Media in accordance with the provisions of

paragraph IV.K above, “Production Media”. The text files will be named with the unique Bates

number of the first page of the corresponding document followed by the extension “.txt.” with

the relative pathing to these text files included in the “index file” on the production media.

       M.      Metadata. The Metadata fields identified below will be extracted and produced

(to the extent reasonably available) in a flat delimited text file or .dat format with values

enclosed by Concordance standard delimiters:

       •       Application Name;
       •       AttachCount (number of attachments);
       •       Beginning Bates Document Number;
       •       Ending Bates Document Number;
       •       BegAttach (the Beginning Bates Document Number of the parent document);
       •       EndAttach (the Ending Bates Document Number of the last attachment);
       •       Conversation Index;
       •       Custodian;
       •       Confidentiality designation;
       •       FileExt (the extension of the filename, e.g., “DOC” for an MS Word document);
       •       Filename (the original filename);
       •       Folderpath;
       •       FileSize (in KB);
       •       Date Created
       •       Time Created (to the degree such information is reasonably available using
               “Robocopy” or similar software);
       •       Date and Time Last Modified;
       •       Author;
       •       To/From/Cc/Bcc fields;
       •       Date Sent
       •       Time Sent;
       •       Date Received
       •       Time Received;
       •       Time Zone Processed (time zone set during data processing);
       •       Email Subject;
       •       MD5 Hash;
       •       MessageID (message ID of the email header);
       •       Page Count;
       •       Path to Extracted Text files;
       •       Path to Native files;
       •       Source Party (if different from Custodian);

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       •       Author;
       •       Redacted;
       •       Volume (indicative of production volume); and
       •       Last Saved By

       The parties are not obligated to populate manually any of these fields if such fields

cannot be extracted from a document, with the exception of the production-based fields, e.g.,

Custodian (which shall be populated by the producing party to the extent that a custodian can be

identified and in accordance with section IV.G above), Attach Count, Beginning Bates

Document Number, Ending Bates Document Number, BegAttach, EndAttach, Confidentiality

Designation, etc.

       N.      Attachments. Email attachments and embedded files or links must be mapped to

their parent by the inclusion of the BegAttach and End Attach fields. The BegAttach field should

list the first page of the parent document and the End Attach filed should list the last page of the

last attachment.

       O.      Compressed Files. Compression file types (i.e., .CAB, .GZ, .TAR, .Z, .ZIP) shall

be decompressed in a reiterative manner to ensure that a zip within a zip is decompressed into

the lowest possible compression resulting in individual folders and/or files.

       P.      Search and review technologies. The parties will notify each other in advance if

they intend to use any software, techniques or technology, such as predictive coding or

technology assisted review or “TAR” or e-mail thread suppression to remove documents from

the review population and provide details of the software, techniques or technology and the work

flow process for the same. The parties will meet and confer in advance to mutually agree about

the deployment of such software, techniques or technology, the protocol and the work flow

process, and in the absence of agreement, may seek relief from the Court.




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       Q.      Hidden text: ESI shall be processed, to the extent practicable, in a manner that

preserves hidden columns or rows, hidden text, notes, or worksheets, speaker notes, tracked

changes, redlines and comments. Upon request, a producing party will produce files with any

such information in native format.

V.     OBJECTIONS TO ESI PRODUCTION

       A.      For responsive files not produced in their native format, documents that present

imaging or format production problems shall be promptly identified by the producing party and

disclosed to the requesting party; the parties shall then meet and confer to attempt to resolve the

problems.

       B.      If either party objects to producing the requested information on the grounds that

such information is not reasonably accessible because of undue burden or cost, or because

production in the requested format is asserted to be not reasonably accessible because of undue

burden or cost, and before asserting such an objection, the producing party will inform the

requesting party of the format in which it is willing to produce it, the nature and location of the

information claimed to not be reasonably accessible, the reason(s) why the requested form of

production would impose an undue burden or is unreasonably costly, and afford the requesting

party opportunity to propose an alternative means of compliance with the request. Such proposal

may include alternative cost estimates for ESI discovery production, may offer a proposal for

ESI discovery cost allocation, or both. Notwithstanding anything contained herein to the

contrary, a producing party shall not produce ESI in a format not requested or designated by the

requesting party unless (i) the parties have met and conferred, and, having been unable to resolve

such format production conflict at such meet and confer session, (ii) prior to referral to and

resolution of such issue by the court.



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       C.      ESI of Limited Accessibility. If a Producing Party contends that any responsive

ESI, excluding back-up tapes or other long-term storage media that were created for use as a

disaster recovery mechanism, is not reasonably accessible within the meaning of Fed. R. Civ. P.

26(b)(2)(B), that Party shall timely identify such ESI with reasonable particularity and shall

provide the Requesting Party with the basis for declining to produce such ESI, including but not

limited to information about the nature of any limitations on access, an estimate of the likely

costs that might be incurred in producing such ESI, the method used for storage of ESI (for

example, the type of system used to store the ESI), and where such ESI is kept. The parties shall

negotiate in good faith concerning the production of any such ESI. If the Parties are unable to

reach agreement, the Parties shall submit any dispute to the Court, who shall determine what

burden may be imposed upon the Producing or Requesting Parties to resolve the dispute and

whether or to what extent the costs of such production shall be borne by the Producing or

Requesting Parties.

VI.    CATEGORIES OF ESI DISCOVERABLE ONLY UPON A SHOWING OF GOOD
       CAUSE

       The following categories of ESI are discoverable only upon a showing of good cause: (1)

“deleted,” “slack,” “fragmented,” or “unallocated” data on hard drives; (2) random access

memory (RAM) or other ephemeral data; (3) on-line access data such as temporary internet files,

history, cache, cookies, etc.; (4) data in metadata fields that are frequently updated automatically,

such as last-opened dates (such category expressly excludes all metadata fields set forth in

section IV.M.; and (5) backup data that is substantially duplicative of data that is more accessible

elsewhere.




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VII.   MISCELLANEOUS

       A.      Nothing herein shall be construed to affect the discoverability or admissibility of

any Document or data. All objections to the discoverability or admissibility of any Document or

data are preserved and may be asserted at any time.

       B.      The enumeration of a protocol for the production, processing, or treatment of ESI

in any particular format or from any particular source of ESI shall not be construed as a

concession that such formats or sources of ESI contain reasonably retrievable or relevant data or

that they must be searched in response to the document requests or in response to any particular

document request.

       C.      This Stipulated Order is not intended to govern any protections or restrictions

related to the production of privileged litigation material. The Parties have separately addressed

the process for handling the production of privileged litigation materials in the Stipulated

Protective Order.

       D.      Limited 28 U.S.C. § 1920 Waiver. While neither party is taking a position in this

document that e-discovery costs under 18 U.S.C. § 1920 are taxable or not, the parties agree that

if a party seeks e-discovery costs under 18 U.S.C. § 1920, that party will not seek the

reimbursement of any costs relating to the production, storage, and maintenance of the ESI

produced by that party in TIFF format over native format.




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Agreed to as to form and substance this 20th day of February, 2018:

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IT IS SO ORDERED.

DATED: ____________________, 2018                   _________________________________
                                                    HONORABLE ANITA BRODY
                                                    UNITED STATES DISTRICT JUDGE




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 20th day of February, 2018, a true and correct copy of

this [PROPOSED] STIPULATED ORDER REGARDING THE PRODUCTION OF

DOCUMENTS AND ELECTRONICALLY STORED INFORMATION was served by via

the United States District Court CM/ECF system on all persons requiring notice.

By:                          /s/Sherrie R. Savett




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